     Case: 1:10-cv-02255 Document #: 9 Filed: 05/17/10 Page 1 of 2 PageID #:31


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Maria Tellado,                          )
                                        )
         Plaintiff,                     )
                                        )
         v.                             )        No. 10 C 2255
                                        )
Creditors Interchange Receivable        )
Management, LLC, and LVNV Funding, )             Judge Lindberg
LLC, both of which are Delaware limited )
liability companies,                    )
                                        )
         Defendants.                    )

                               STIPULATION OF DISMISSAL

       Plaintiff, Maria Tellado, having reached a settlement with the Defendants, hereby

stipulates to the dismissal of this action with prejudice, each party to bear their own

attorneys’ fees and costs.

Dated: May 17, 2010

One of Plaintiff's Attorneys

/s/ David J. Philipps_______
David J. Philipps      (Ill. Bar No. 06196285)
Mary E. Philipps       (Ill. Bar No. 06197113)
Philipps & Philipps, Ltd.
9760 S. Roberts Road
Suite One
Palos Hills, Illinois 60465
davephilipps@aol.com

The foregoing stipulation is hereby approved and this action is dismissed with prejudice,
each party to bear their own attorneys’ fees and costs.

Dated: ______________
                                           ENTERED:


                                           __________________________________
                                           Judge George W. Lindberg,
                                           United States District Court
     Case: 1:10-cv-02255 Document #: 9 Filed: 05/17/10 Page 2 of 2 PageID #:32


                                   CERTIFICATE OF SERVICE

       I hereby certify that on May 17, 2010 a copy of the foregoing Stipulation of
Dismissal was filed electronically. Notice of this filing will be sent to the following party
via U.S. Mail, first class postage pre-paid, on May 17, 2010, by 5:00 p.m.

Creditors Interchange Receivable Management, LLC
c/o James K. Schultz
Sessions, Fishman, Nathan & Israel, L.L.P.
55 West Monroe
Suite 1120
Chicago, Illinois 60603

Michael Bahner, Corporate Counsel
LVNV/Resurgent Capital Services, LP
15 S. Main Street, Suite 600
Greenville, South Carolina 29601

/s/ David J. Philipps__________

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